            Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 1 of 37 Page ID #:170


             1   MARCELLUS A. MCRAE, SBN 140308
                   mmcrae@gibsondunn.com
             2   ERIC D. VANDEVELDE, SBN 240699
                  evandevelde@gibsondunn.com
             3   MICHAEL M. LEE, SBN 246363
                   mlee@gibsondunn.com
             4   GIBSON, DUNN & CRUTCHER LLP
                 333 South Grand Avenue
             5   Los Angeles, CA 90071-3197
                 Telephone: 213.229.7000
             6   Facsimile: 213.229.7520
             7   Attorneys for Defendant
                 AT&T Mobility LLC
             8

             9

           10                              UNITED STATES DISTRICT COURT
           11                             CENTRAL DISTRICT OF CALIFORNIA
           12    MICHAEL TERPIN,                           Case No. 2:18-cv-06975-ODW-KS
           13                Plaintiff,                    DEFENDANT AT&T MOBILITY
                                                           LLC’S NOTICE OF MOTION AND
           14          v.                                  MOTION TO DISMISS THE
                                                           COMPLAINT; MEMORANDUM OF
           15    AT&T MOBILITY LLC; and DOES 1-            POINTS AND AUTHORITIES IN
                 25,                                       SUPPORT THEREOF
           16                                              [F.R.C.P. 12(b)(6)]
                             Defendants.
           17                                              [[Proposed] Order lodged concurrently
                                                           herewith]
           18
                                                           Action Filed: August 15, 2018
           19
                                                           Hearing:
           20                                              Date:    November 19, 2018
                                                           Time:    1:30 p.m.
           21                                              Place:   350 West 1st Street, 5th Floor
                                                                    Courtroom 5D
           22                                                       Los Angeles, CA 90012
                                                           Judge:   Hon. Otis D. Wright II
           23

           24

           25

           26

           27

           28

Gibson, Dunn &
Crutcher LLP
                                            DEFENDANT’S MOTION TO DISMISS
                                             CASE NO. 2:18-CV-06975-ODW-KS
            Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 2 of 37 Page ID #:171


             1                                  NOTICE OF MOTION
             2   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
             3         PLEASE TAKE NOTICE that at 1:30 p.m. on Monday, November 19, 2018,
             4   before the Honorable Otis D. Wright II, United States District Court Judge, in Courtroom
             5   5D, at 350 West 1st Street, 5th Floor, Los Angeles, California 90012, Defendant AT&T
             6   Mobility LLC (“AT&T” or “Defendant”) will and hereby does move, pursuant to Rule
             7   12(b)(6) of the Federal Rules of Civil Procedure, to dismiss Plaintiff Michael Terpin’s
             8   (“Terpin”) Complaint.
             9         AT&T moves to dismiss all claims on the basis that Terpin has failed to plausibly
           10    allege proximate cause. AT&T also moves to dismiss Claim 1 (Declaratory Relief)
           11    because it is not ripe, and to dismiss Claim 1’s request for invalidation of the parties’
           12    agreement as unsupported by the allegations of the Complaint. AT&T moves to dismiss
           13    Claim 2 (Unauthorized Disclosure of Customer Confidential Proprietary Information
           14    and Proprietary Network Information (“CPNI”), Federal Communications Act, 47
           15    U.S.C. §§ 206, 222), on the basis that Terpin has failed to allege any disclosure of CPNI
           16    or any other statutorily defined confidential information. AT&T moves to dismiss Claim
           17    3 (Assisting Unlawful Access to Computer, California Penal Code § 502 et seq.) on the
           18    basis that AT&T did not knowingly provide access to any computer. AT&T moves to
           19    dismiss Claims 4-6 (California Unfair Competition Law) because those claims only
           20    permit restitution to be recovered, and Terpin has not pled that AT&T has experienced
           21    a benefit that could be recovered through restitution. In addition, Claims 3-6, as well as
           22    Claim 7 (California Consumer Legal Remedies Act, Cal. Civ. Code § 1750 et seq.) and
           23    Claim 16 (California Customer Records Act, Cal. Civ. Code § 1798.81.5), should be
           24    dismissed because the statutes underlying those claims do not have extraterritorial
           25    application to a non-California resident.
           26          AT&T moves to dismiss Claim 7 because Terpin failed to give the required notice
           27    and opportunity to cure as required by the statute, and because Terpin has not pled facts
           28    that support a violation of the cited subsections. AT&T moves to dismiss Claim 8

Gibson, Dunn &                                             1
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
            Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 3 of 37 Page ID #:172


             1   (Deceit by Concealment) because Terpin has not alleged a duty to speak and because he
             2   has not plausibly alleged that he would have acted differently if AT&T had disclosed
             3   the limits of its security. AT&T moves to dismiss Claim 9 (Misrepresentation) because
             4   Terpin has not alleged that he even read the documents he claims are misrepresentations.
             5   In addition, Claims 8-12 (negligence and fraud claims) should be dismissed under the
             6   economic loss doctrine. AT&T seeks to dismiss Claim 14 (Breach of Implied Contracts)
             7   and Claim 15 (Breach of the Implied Covenant of Good Faith and Fair Dealing) because
             8   both do no more than relabel Terpin’s contract claim and do not allege conduct that
             9   would give rise to the claims pled. Finally, Claim 16 should be dismissed because
           10    Terpin has not alleged that AT&T failed to protect the type of information protected by
           11    the Customer Records Act.
           12          The Motion is based on this Notice of Motion, the Memorandum of Points and
           13    Authorities that follows, all pleading and records on file in this action, and any other
           14    arguments and evidence presented to this Court at or before the hearing on the Motion.
           15          This Motion is made following the conference of counsel pursuant to Civil Local
           16    Rule 7-3, which took place on October 11, 2018.
           17
           18
                 Dated: October 22, 2018               Respectfully submitted,
           19
                                                       GIBSON, DUNN & CRUTCHER LLP
           20
           21
                                                       By: /s/ Marcellus A. McRae
           22                                              Marcellus A. McRae
           23                                          Attorney for Defendant
                                                       AT&T MOBILITY LLC
           24
           25
           26
           27
           28

Gibson, Dunn &                                             2
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
            Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 4 of 37 Page ID #:173


             1                                               TABLE OF CONTENTS
             2                                                                                                                                 Page
             3   I.     Introduction .......................................................................................................... 1
             4   II.    Facts ...................................................................................................................... 2
             5   III.   Standard of Review .............................................................................................. 3
             6   IV.    Argument .............................................................................................................. 4
             7          A.        Terpin Has Not Sufficiently Alleged Proximate Causation for Any
                                  of His Claims. ............................................................................................. 4
             8
                        B.        Claim 1 (Declaratory Relief) Should Be Dismissed for Failure to
             9                    Allege a Ripe Case or Controversy. ........................................................... 6
           10           C.        Claim 2 (Unauthorized Disclosure of Customer Confidential
                                  Proprietary Information and Proprietary Network Information)
           11                     Should Be Dismissed for Failure to Adequately Plead That Any
                                  Such Information Was Disclosed. .............................................................. 8
           12
                        D.        Claim 3 (Assisting Unlawful Access to Computer [Cal. Penal Code
           13                     § 502]) Should Be Dismissed................................................................... 10
           14                     1.        Terpin Has Not Adequately Pled That Anyone Acquired
                                            Access to His Computers, Computer Systems, or Computer
           15                               Networks. ....................................................................................... 10
           16                     2.        Terpin Has Not Pled AT&T “Knowingly” Assisted Hackers. ...... 10
           17           E.        Terpin’s California Statutory Claims (Claims 3-7 and 16) Should
                                  Be Dismissed Because He Is Not a California Resident and
           18                     Challenges Conduct That Occurred Outside California. ......................... 11
           19           F.        Claims 4-6 (Violation of California UCL) Should Be Dismissed
                                  Because Terpin Has Not Pled Entitlement to Equitable Relief. .............. 12
           20
                        G.        Claim 7 (Violation of CLRA) Should Be Dismissed............................... 13
           21
                                  1.        Claim 7 Should Be Dismissed for Failure to Give Required
           22                               Notice and Opportunity to Cure. ................................................... 13
           23                     2.        Claim 7 Should Be Dismissed for Failure to Plead a
                                            Violation of the Cited Subsections of the CLRA. ......................... 14
           24
                        H.        Claim 8 (Deceit by Concealment) Should Be Dismissed. ....................... 15
           25
                                  1.        Claim 8 Should Be Dismissed for Failure to Allege a Duty to
           26                               Speak. ............................................................................................. 15
           27                     2.        Terpin Has Not Pled That He Would Have Acted Differently
                                            Had He Been Aware of the Allegedly Concealed Facts................ 17
           28

Gibson, Dunn &                                                        i
Crutcher LLP
                                                      DEFENDANT’S MOTION TO DISMISS
                                                       CASE NO. 2:18-CV-06975-ODW-KS
            Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 5 of 37 Page ID #:174


             1        I.       Claim 9 (Misrepresentation) Should Be Dismissed Because Terpin
                               Has Not Pled That He Read the Documents on Which He
             2                 Supposedly Relied. ................................................................................... 18
             3        J.       Terpin’s Fraud and Negligence Claims (Claims 8-12) Are Barred
                               by the Economic Loss Doctrine. .............................................................. 19
             4
                      K.       Claim 14 (Breach of Implied Contracts) Should Be Dismissed
             5                 Because Terpin Has Not Stated a Claim for Breach of Implied
                               Contract. ................................................................................................... 20
             6
                      L.       Claim 15 Should Be Dismissed Because Terpin Has Not Stated a
             7                 Claim for Breach of the Implied Covenant of Good Faith and Fair
                               Dealing. .................................................................................................... 21
             8
                      M.       Claim 16 Should Be Dismissed Because Terpin Has Not Alleged
             9                 AT&T Failed to Protect the Type of Information Shielded by the
                               Customer Records Act. ............................................................................ 22
           10
                      N.       Terpin’s Request for Punitive Damages Should Be Stricken. ................. 22
           11
                               1.        Terpin Has Not Adequately Pled That He Is Entitled to
           12                            Punitive Damages. ......................................................................... 22
           13                  2.        Punitive Damages Are Unavailable for Claims 10-12, 15-16
                                         as a Matter of Law. ........................................................................ 24
           14
                 V.   Conclusion .......................................................................................................... 25
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Gibson, Dunn &                                                    ii
Crutcher LLP
                                                  DEFENDANT’S MOTION TO DISMISS
                                                   CASE NO. 2:18-CV-06975-ODW-KS
            Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 6 of 37 Page ID #:175


             1                                           TABLE OF AUTHORITIES
             2                                                                                                                    Page(s)
             3   Cases
             4
                 Aetna Life Ins. Co. v. Haworth,
             5      300 U.S. 227 (1937).................................................................................................... 7
             6   Antman v. Uber Techs., Inc.,
             7      2015 WL 6123054 (N.D. Cal. Oct. 19, 2015) .......................................................... 13
             8   Ashcroft v. Iqbal,
             9      556 U.S. 662 (2009)................................................................................................ 3, 5

           10    ASIS Internet Servs. v. Active Response Grp.,
                    2008 WL 2129417 (N.D. Cal. May 20, 2008).......................................................... 10
           11
           12    Audigier Brand Mgmt. v. Perez,
                   2012 WL 5470888 (C.D. Cal. Nov. 5, 2012) ........................................................... 20
           13
                 Avidity Partners, LLC v. State of Cal.,
           14
                    221 Cal. App. 4th 1180 (2013) ................................................................................. 22
           15
                 Bell Atl. Corp. v. Twombly,
           16       550 U.S. 544 (2007).............................................................................................. 3, 11
           17
                 Body Jewelz, Inc. v. Valley Forge Ins. Co.,
           18      241 F. Supp. 3d 1084 (C.D. Cal. 2017) .................................................................... 20
           19    Brousseau v. Jarrett,
           20       73 Cal. App. 3d 864 (1977) ...................................................................................... 24

           21    Call One, Inc. v. Anzine,
                   2018 WL 2735089 (N.D. Ill. June 7, 2018).............................................................. 10
           22
           23    Careau & Co. v. Sec. Pac. Bus. Credit, Inc.,
                   222 Cal. App. 3d 1371 (1990) .................................................................................. 22
           24
                 ChromaDex, Inc. v. Elysium Health, Inc.,
           25
                   301 F. Supp. 3d 963 (C.D. Cal. 2017) ...................................................................... 19
           26
                 City of Colton v. Am. Promotional Events, Inc.-W.,
           27       614 F.3d 998 (9th Cir. 2010) ...................................................................................... 7
           28

Gibson, Dunn &                                                      iii
Crutcher LLP
                                                     DEFENDANT’S MOTION TO DISMISS
                                                      CASE NO. 2:18-CV-06975-ODW-KS
            Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 7 of 37 Page ID #:176


             1   Clayton v. Landsing Pac. Fund, Inc.,
             2      2002 WL 1058247 (N.D. Cal. May 9, 2002)............................................................ 17

             3   In re Coleman,
                     560 F.3d 1000 (9th Cir. 2009) .................................................................................... 7
             4
             5   Cotter v. Lyft, Inc.,
                   60 F. Supp. 3d 1059 (N.D. Cal. 2014) ...................................................................... 11
             6
                 Cruz v. HomeBase,
             7
                   83 Cal. App. 4th 160 (2000) ............................................................................... 23, 24
             8
                 Czuchaj v. Conair Corp.,
             9     2014 WL 1664235 (S.D. Cal. Apr. 18, 2014) .......................................................... 17
           10
                 Daniels-Hall v. Nat’l Educ. Ass’n,
           11      629 F.3d 992 (9th Cir. 2010) ...................................................................................... 8
           12    Div. of Labor Law Enforcement v. Transpacific Transp. Co.,
           13       69 Cal. App. 3d 268 (1977) ...................................................................................... 21
           14    Ehret v. Uber Techs., Inc.,
                   68 F. Supp. 3d 1121 (N.D. Cal. 2014) ...................................................................... 15
           15
           16    Fairbanks v. Super. Ct.,
                    46 Cal. 4th 56 (2009) ................................................................................................ 15
           17
           18    Farrar v. Direct Commerce, Inc.,
                   9 Cal. App. 5th 1257 (2017) ....................................................................................... 8
           19
                 Ferrington v. McAfee, Inc.,
           20       2010 WL 3910169 (N.D. Cal. Oct. 5, 2010) ............................................................ 15
           21
                 Foster Poultry Farms v. Aklar-Rapidpak-MP Equip., Inc.,
           22      868 F. Supp. 2d 983 (E.D. Cal. 2012) ...................................................................... 21
           23    Fresno Motors, LLC v. Mercedes Benz USA, LLC,
           24       771 F.3d 1119 (9th Cir. 2014) .................................................................................. 13
           25    Gilstrap v. United Airlines, Inc.,
           26       2014 WL 12734331 (C.D. Cal. Jan. 17, 2014) ......................................................... 25

           27    Gorlach v. The Sports Club Co.,
                   209 Cal. App. 4th 1497 (2013) ................................................................................. 21
           28

Gibson, Dunn &                                                      iv
Crutcher LLP
                                                     DEFENDANT’S MOTION TO DISMISS
                                                      CASE NO. 2:18-CV-06975-ODW-KS
            Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 8 of 37 Page ID #:177


             1   Grisham v. Philip Morris, Inc.,
             2      670 F. Supp. 2d 1014 (C.D. Cal. 2009) .................................................................... 16

             3   Guz v. Bechtel Nat’l, Inc.,
                   24 Cal. 4th 317 (2007) ........................................................................................ 21, 22
             4
             5   Hammond Enters. Inc. v. ZPS Am. LLC,
                   2013 WL 5814505 (N.D. Cal. Oct. 29, 2013) .......................................................... 20
             6
                 Hoffman v. 162 N. Wolfe LLC,
             7
                   228 Cal. App. 4th 1178 (2014) ................................................................................. 16
             8
                 Jesse v. Malcmacher,
             9      2016 WL 9450683 (C.D. Cal. Apr. 5, 2016) .............................................................. 6
           10
                 JMP Sec. LLP v. Altair Nanotechnologies Inc.,
           11      880 F. Supp. 2d 1029 (N.D. Cal. 2012) .................................................................... 19
           12    Johnson v. Lucent Techs. Inc.,
           13       653 F.3d 1000 (9th Cir. 2011) .................................................................................. 18
           14    Johnson v. Nw. Airlines, Inc.,
                    2010 WL 5564629 (N.D. Cal. May 5, 2010).............................................................. 4
           15
           16    Kates v. Crocker Nat’l Bank,
                   776 F.2d 1396 (9th Cir. 1985) .................................................................................. 13
           17
           18    Kelley v. Corr. Corp. of Am.,
                    750 F. Supp. 2d 1132 (E.D. Cal. 2010) .............................................................. 23, 24
           19
                 Kenneth Martin Gardner v. Health Net, Inc.,
           20      2010 WL 11597979 (C.D. Cal. Aug. 12, 2010) ....................................................... 13
           21
                 Lamb-Weston, Inc. v. McCain Foods, Ltd.,
           22      941 F.2d 970 (9th Cir. 1991) .................................................................................... 13
           23    Laster v. T-Mobile USA, Inc.,
           24       407 F. Supp. 2d 1181 (S.D. Cal. 2005) .................................................................... 14
           25    Lavine v. Jessup,
           26       161 Cal. App. 2d 59 (1958) ...................................................................................... 24

           27    Martinez v. Pac. Bell,
                   225 Cal. App. 3d 1557 (1990) ............................................................................ 1, 4, 6
           28

Gibson, Dunn &                                                      v
Crutcher LLP
                                                    DEFENDANT’S MOTION TO DISMISS
                                                     CASE NO. 2:18-CV-06975-ODW-KS
            Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 9 of 37 Page ID #:178


             1   McKinnon v. Dollar Thrifty Automotive Grp., Inc.,
             2     2013 WL 791457 (N.D. Cal. Mar. 4, 2013) ............................................................. 12

             3   Molina v. J.C. Penney Co.,
                   2015 WL 183899 (N.D. Cal. Jan. 14, 2015)............................................................. 25
             4
             5   In re Napster, Inc. Copyright Litig.,
                     354 F. Supp. 2d 1113 (N.D. Cal. 2005) .............................................................. 13, 14
             6
                 O’Connor v. Uber Techs., Inc.,
             7
                   58 F. Supp. 3d 989 (N.D. Cal. 2014) ........................................................................ 11
             8
                 O’Keefe v. Inca Floats, Inc.,
             9     1997 WL 703784 (N.D. Cal. Oct. 31, 1997) .............................................................. 6
           10
                 Oman v. Delta Air Lines, Inc.,
           11      889 F.3d 1075 (9th Cir. 2018) .................................................................................. 12
           12    Oracle USA, Inc. v. XL Glob. Servs., Inc.,
           13      2009 WL 2084154 (N.D. Cal. July 13, 2009) .......................................................... 19
           14    Outboard Marine Corp. v. Super. Ct.,
                   52 Cal. App. 3d 30 (1975) ........................................................................................ 14
           15
           16    Patera v. Citibank, N.A.,
                    79 F. Supp. 3d 1074 (N.D. Cal. 2015) ...................................................................... 18
           17
           18    People v. Hawkins,
                   98 Cal. App. 4th 1428 (2002) ................................................................................... 11
           19
                 Perez v. Auto Tech. Co.,
           20       2014 WL 12588644 (C.D. Cal. July 14, 2014) ........................................................ 24
           21
                 Robinson Helicopter Co. v. Dana Corp.,
           22      34 Cal. 4th 979 (2004) ........................................................................................ 19, 20
           23    Sacramento Cty. Retired Employees Ass’n v. Cty. of Sacramento,
           24       975 F. Supp. 2d 1150 (E.D. Cal. 2013) .................................................................... 21
           25    Sanders v. Apple Inc.,
           26       672 F. Supp. 2d 978 (N.D. Cal. 2009) ...................................................................... 17

           27    Simmons v. S. Pac. Transp. Co.,
                    62 Cal. App. 3d 341 (1976) ...................................................................................... 25
           28

Gibson, Dunn &                                                     vi
Crutcher LLP
                                                    DEFENDANT’S MOTION TO DISMISS
                                                     CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 10 of 37 Page ID #:179


             1   SkinMedica, Inc. v. Histogen Inc.,
             2      869 F. Supp. 2d 1176 (S.D. Cal. 2012) .................................................................... 13

             3   Sloan v. Gen. Motors LLC,
                    287 F. Supp. 3d 840 (N.D. Cal. 2018) ...................................................................... 19
             4
             5   Spy Dialer, Inc. v. Reya LLC,
                    2018 WL 3689554 (C.D. Cal. July 26, 2018) .......................................................... 11
             6
                 State Dep’t of State Hosps. v. Super. Ct.,
             7
                    61 Cal. 4th 339 (2015) ................................................................................................ 6
             8
                 State of Cal. v. Super. Ct.,
             9      150 Cal. App. 3d 848 (1984) .............................................................................. 4, 5, 6
           10
                 Stearns v. Select Comfort Retail Corp.,
           11       2009 WL 1635931 (N.D. Cal. June 5, 2009)............................................................ 14
           12    Sullivan v. Oracle Corp.,
           13       51 Cal. 4th 1191 (2011) ............................................................................................ 12
           14    Tasion Commc’ns, Inc. v. Ubiquiti Networks, Inc.,
                    2013 WL 4530470 (N.D. Cal. Aug. 26, 2013) ......................................................... 20
           15
           16    Tomaselli v. Transamerica Ins. Co.,
                   25 Cal. App. 4th 1269 (1994) ................................................................................... 23
           17
           18    Torralbo v. Davol, Inc.,
                    2017 WL 5664993 (C.D. Cal. Oct. 19, 2017) .......................................................... 24
           19
                 U.S. W., Inc. v. F.C.C.,
           20       182 F.3d 1224 (10th Cir. 1999) .................................................................................. 9
           21
                 UMG Recordings, Inc. v. Glob. Eagle Entm’t, Inc.,
           22      117 F. Supp. 3d 1092 (C.D. Cal. 2015) ...................................................................... 3
           23    United Food & Commercial Workers Local Union No. 137 v. Food
           24      Employers Council, Inc.,
                   827 F.2d 519 (9th Cir. 1987) ...................................................................................... 8
           25
           26    Verizon Nw., Inc. v. Showalter,
                    282 F. Supp. 2d 1187 (W.D. Wash. 2003) ............................................................... 10
           27
                 Vess v. CIBA-Geigy Corp. USA,
           28       317 F.3d 1097 (9th Cir. 2003) .................................................................................. 18
Gibson, Dunn &                                                      vii
Crutcher LLP
                                                     DEFENDANT’S MOTION TO DISMISS
                                                      CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 11 of 37 Page ID #:180


             1   Von Grabe v. Sprint PCS,
             2     312 F. Supp. 2d 1285 (S.D. Cal. 2003) .................................................................... 14

             3   Vu v. Cal. Comm. Club, Inc.,
                    58 Cal. App. 4th 229 (1997) ....................................................................................... 4
             4
             5   Warner v. Tinder Inc.,
                   105 F. Supp. 3d 1083 (C.D. Cal. 2015) .................................................................... 12
             6
                 WeBoost Media S.R.L. v. LookSmart Ltd.,
             7
                   2014 WL 2621465 (N.D. Cal. June 12, 2014).......................................................... 20
             8
                 Weeks v. Baker & McKenzie,
             9     63 Cal. App. 4th 1128 (1998) ................................................................................... 23
           10
                 Welk v. Beam Suntory Imp. Co.,
           11      124 F. Supp. 3d 1039 (S.D. Cal. 2015) .................................................................... 18
           12    Westlands Water Dist. Distribution Dist. v. Natural Resources Defense
           13      Council, Inc.,
                   276 F. Supp. 2d 1046 (E.D. Cal. 2003) ...................................................................... 7
           14
                 White v. Ultramar, Inc.,
           15
                   21 Cal. 4th 563 (1999) ........................................................................................ 23, 24
           16
                 In re Yahoo! Inc. Customer Data Sec. Breach Litig.,
           17        2017 WL 3727318 (N.D. Cal. Aug. 30, 2017) ................................................... 12, 19
           18
                 In re Yahoo! Inc. Customer Data Sec. Breach Litig.,
           19        313 F. Supp. 3d 2018 (N.D. Cal. 2018) .............................................................. 22, 25
           20    Yari v. Producers Guild of Am., Inc.,
           21       161 Cal. App. 4th 172 (2008) ................................................................................... 21
           22    Statutes
           23    28 U.S.C. § 2201(a) ......................................................................................................... 7
           24
                 47 U.S.C. § 222 ............................................................................................................ 8, 9
           25
                 Cal. Bus. & Prof. Code § 17203 .................................................................................... 13
           26
           27    Cal. Civ. Code § 1621 .................................................................................................... 21

           28    Cal. Civ. Code § 1710(3) ............................................................................................... 16

Gibson, Dunn &                                                       viii
Crutcher LLP
                                                      DEFENDANT’S MOTION TO DISMISS
                                                       CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 12 of 37 Page ID #:181


             1   Cal. Civ. Code § 1761(a)-(b) ......................................................................................... 14
             2
                 Cal. Civ. Code § 1770(a) ......................................................................................... 14, 15
             3
                 Cal. Civ. Code § 1782 .................................................................................................... 14
             4
                 Cal. Civ. Code § 1798.81.5 ...................................................................................... 13, 22
             5
             6   Cal. Civ. Code § 3294 .............................................................................................. 23, 24

             7   Cal. Evid. Code, § 210 ................................................................................................... 21
             8   Cal. Penal Code § 7........................................................................................................ 11
             9
                 Cal. Penal Code § 502(c)(1)-(14) .................................................................................. 11
           10
           11
           12
           13
           14
           15
           16
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Gibson, Dunn &                                                      ix
Crutcher LLP
                                                     DEFENDANT’S MOTION TO DISMISS
                                                      CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 13 of 37 Page ID #:182


             1                                        I.     Introduction
             2          The Complaint by Plaintiff Michael Terpin (“Terpin”) against AT&T Mobility
             3   LLC1 (“AT&T”) is an attempt to improperly blame AT&T for an alleged cryptocurrency
             4   theft by unknown criminals. Even assuming Terpin suffered this alleged theft and has
             5   claims against the criminal actors, his Complaint falls far short of stating a claim against
             6   AT&T under any of the sixteen theories he crafts.
             7          Terpin alleges that on June 11, 2017, unknown “hackers” obtained access to his
             8   telephone number via a fraudulent SIM swap,2 hijacked his Skype account, defrauded
             9   one of Terpin’s clients, and caused that client to transfer cryptocurrency to the hackers
           10    (instead of to Terpin). Compl. ¶¶ 64-65. But Terpin fails to allege any facts suggesting
           11    that AT&T knowingly assisted the hackers, that the SIM swap led or contributed to the
           12    “hijack[ing]” of his Skype account, or that the subsequent Skype fraud and theft of
           13    cryptocurrency was a logical or foreseeable consequence of any action by AT&T. As
           14    to a second alleged theft on January 7 and 8, 2018, which Terpin claims was the result
           15    of another fraudulent SIM swap, Terpin alleges nothing to explain how AT&T’s policies
           16    allowed hackers to steal the alleged $24 million. He merely asserts in conclusory fashion
           17    that after the SIM swap occurred, hackers “obtain[ed] information about Mr. Terpin’s
           18    cryptocurrency holdings” and were able to “spirit off funds to their own accounts.”
           19    Compl. ¶ 73.
           20           These allegations are insufficient. Liability in both tort and contract “extends to
           21    damage which is proximately or legally caused by the defendant’s conduct, not to
           22    damage suffered as a proximate result of the independent intervening acts of
           23    others.” Martinez v. Pac. Bell, 225 Cal. App. 3d 1557, 1565 (1990) (emphasis added).
           24    Here, Terpin concedes that the harm he allegedly suffered resulted from the
           25
           26
                 1
                  Terpin’s Complaint also names AT&T Inc. as a defendant. Terpin voluntarily dismissed AT&T Inc.
           27    pursuant to Fed. R. Civ. P. 41(a) on August 23, 2018. Dkt. 9.
           28    2
                  Terpin defines “SIM swapping” as “‘tricking a provider . . . into transferring the target’s phone
                 number to a SIM card controlled by the criminal.’” Compl. ¶ 53.
Gibson, Dunn &                                                    1
Crutcher LLP
                                             DEFENDANT’S MOTION TO DISMISS
                                               CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 14 of 37 Page ID #:183


             1   “independent intervening acts” of others (i.e., the hackers). Compl. ¶ 73. Yet he
             2   trivializes multiple indispensable steps in the alleged theft by ignoring them—as if not
             3   pleading how the hackers turned access to a phone number into a $24 million theft will
             4   allow the Court to presume that the missing steps were foreseeable to, and attributable
             5   to, AT&T. Because Terpin fails to plausibly allege how the alleged theft occurred, he
             6   necessarily fails to allege that AT&T proximately caused the theft.
             7            In addition, fifteen of Terpin’s sixteen claims have additional flaws that require
             8   dismissal. For each claim, Terpin has failed to plead a required element. Also, several
             9   claims improperly seek extraterritorial effect of California law. Accordingly, Terpin’s
           10    Complaint should be dismissed in its entirety.
           11                                                II.    Facts3
           12              Terpin entered into a wireless contract with AT&T in 2011. Compl. ¶ 81. On or
           13    about June 11, 2017, Terpin learned that his AT&T cell phone number had been hacked
           14    when his phone suddenly became inoperable. Id. ¶ 64. He later learned that his AT&T
           15    password had been changed remotely by hackers after 11 failed attempts made from
           16    AT&T’s retail stores. Id. Terpin alleges that the hackers accessed Terpin’s telephone
           17    and Skype accounts to access his cryptocurrency accounts. Id. ¶ 65. By impersonating
           18    Terpin, the hackers convinced one of Terpin’s clients to send them cryptocurrency owed
           19    to Terpin. Id.
           20             Two days later, on June 13, 2017, Terpin met with AT&T representatives in
           21    Puerto Rico to discuss the hack. Id. ¶ 66. AT&T purportedly told him that it would
           22    place his account on a “higher security level” with “special protection,” requiring a six-
           23    digit passcode in order to access or change his account. Id. ¶ 67. Terpin alleges that he
           24    “relied upon AT&T’s promises that his account would be much more secure against
           25    hacking, including SIM swap fraud, after it implemented the increased security
           26    measures” and therefore retained his account with AT&T. Id. ¶ 69.
           27
           28
                 3
                     For this motion only, AT&T assumes the truth of the allegations of Terpin’s Complaint.
Gibson, Dunn &                                                     2
Crutcher LLP
                                               DEFENDANT’S MOTION TO DISMISS
                                                CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 15 of 37 Page ID #:184


             1         Thereafter, on January 7, 2018, Terpin alleges that an employee in an AT&T store
             2   in Norwich, Connecticut, sent Terpin’s wireless number to an imposter committing SIM
             3   swap fraud in violation of AT&T’s security procedures. Id. ¶¶ 72, 75.4 Terpin alleges
             4   imposters “gained control over [his] accounts and stole nearly $24 million worth of
             5   cryptocurrency from him on January 7 and 8, 2018.” Id. ¶ 72.
             6         On August 15, 2018, Terpin brought a complaint against AT&T arising from these
             7   two thefts, alleging sixteen common law and statutory claims. Dkt. 1.
             8                                  III.   Standard of Review
             9         Under federal pleading standards, “[t]o survive a motion to dismiss, a complaint
           10    must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
           11    plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
           12    Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A claim meets the plausibility test “when
           13    the plaintiff pleads factual content that allows the court to draw the reasonable inference
           14    that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.
           15    Conversely, a “pleading that offers labels and conclusions or a formulaic recitation of
           16    the elements of a cause of action will not do.” Id. (internal quotation marks and citations
           17    omitted). If a complaint “pleads facts that are ‘merely consistent with’ a defendant’s
           18    liability, it ‘stops short of the line between possibility and plausibility of entitlement to
           19    relief.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557).
           20           Moreover, claims for deceit and misrepresentation sound in fraud and thus “must
           21    meet the heightened pleading requirements of Rule 9(b).” UMG Recordings, Inc. v.
           22    Glob. Eagle Entm’t, Inc., 117 F. Supp. 3d 1092, 1106 (C.D. Cal. 2015).
           23
           24
           25
           26
           27
           28    4
                  In fact, the individual Terpin references was never an AT&T employee. He worked for Spring
                 Communications Holding, Inc., which is an independent contractor of AT&T.
Gibson, Dunn &                                                   3
Crutcher LLP
                                              DEFENDANT’S MOTION TO DISMISS
                                                CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 16 of 37 Page ID #:185


             1                                      IV.   Argument
             2   A.    Terpin Has Not Sufficiently Alleged Proximate Causation for Any of His
                       Claims.
             3
                       Under California law, “causation of damages in contract cases, as in tort cases,
             4
                 requires that the damages be proximately caused by the defendant’s breach, and that
             5
                 their causal occurrence be at least reasonably certain.” Vu v. Cal. Comm. Club, Inc., 58
             6
                 Cal. App. 4th 229, 233 (1997). Proximate cause “‘is that cause which, in natural and
             7
                 continuous sequence, unbroken by any efficient intervening cause, produced the injury
             8
                 [or damage complained of] and without which such result would not have occurred.’”
             9
                 State of Cal. v. Super. Ct., 150 Cal. App. 3d 848, 857 (1984); Johnson v. Nw. Airlines,
           10
                 Inc., 2010 WL 5564629, at *8 (N.D. Cal. May 5, 2010). A defendant’s liability does not
           11
                 extend “to damage suffered as a proximate result of the independent intervening acts of
           12
                 others.” Martinez, 225 Cal. App. 3d at 1565.
           13
                       Terpin has not adequately pled proximate cause for any of his claims because he
           14
                 has not pled a sequence of events by which AT&T’s conduct led to his injury—and he
           15
                 cannot do so, because any such sequence would necessarily involve the independent,
           16
                 intervening criminal acts of others, thus destroying proximate cause.
           17
                       Terpin’s allegations that inadequate security measures led to the theft of his
           18
                 cryptocurrency are bare conclusions, devoid of any explanation of the sequence of
           19
                 events leading to his loss. Iqbal, 556 U.S. at 662. With respect to the alleged June 11,
           20
                 2017 hack, for example, Terpin alleges hackers “took charge of Mr. Terpin’s telephone
           21
                 number” and “accessed Mr. Terpin’s telephone to divert texts and telephone calls to gain
           22
                 access to Mr. Terpin’s cryptocurrency accounts.” Compl. ¶ 65. The hackers allegedly
           23
                 then “used the phone to hijack Mr. Terpin’s Skype account to impersonate him,”
           24
                 defrauding a client into sending the hackers cryptocurrency belonging to Terpin. Id.
           25
                       This sequence leaves open far more questions than it answers. For example, how
           26
                 did the hackers execute the SIM swap? Did they already have Terpin’s identifying
           27
                 information or access to his email to permit them to manipulate AT&T’s processes?
           28

Gibson, Dunn &                                            4
Crutcher LLP
                                          DEFENDANT’S MOTION TO DISMISS
                                           CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 17 of 37 Page ID #:186


             1   How did obtaining control of Terpin’s telephone number permit hackers to access his
             2   cryptocurrency accounts? How and why was there a purported connection between the
             3   SIM swap and hijacking Terpin’s Skype account? What other information did hackers
             4   need (or have) to hijack the Skype account? How did the hackers impersonate Terpin?
             5   How did hackers persuade a Terpin client to send cryptocurrency to the wrong recipient?
             6         Terpin’s allegations about the January 7, 2018 hack are even more conclusory.
             7   Terpin simply asserts that “[t]hrough the January 7, 2018 hack, thieves gained control
             8   over Mr. Terpin’s accounts and stole nearly $24 million worth of cryptocurrency from
             9   him on January 7 and 8, 2018.” Compl. ¶ 72. These assertions beget more questions
           10    than answers, including what role did access to a phone with Terpin’s number play in
           11    gaining control over Terpin’s cryptocurrency accounts? Was Skype involved again?
           12    Was there fraud on a client, or independent hacking into other accounts?
           13          These multiple holes in Terpin’s conclusory chain of causation defeat proximate
           14    cause as a matter of law. In State of California v. Superior Court, for example, the
           15    plaintiffs alleged that the Real Estate Commissioner had failed to investigate a claim for
           16    negligent supervision of a real estate agent. State of Cal., 150 Cal. App. 3d at 852-53.
           17    That agent later stole funds belonging to the plaintiffs, and plaintiffs alleged that the
           18    failure to investigate was the proximate cause of their injuries. Id. The court rejected
           19    this argument, finding that the “causal link” between the alleged negligence and the
           20    damages was “tenuous at best,” and that “several procedural steps” lay between the
           21    alleged negligence and the harm. Id. at 858-59. Even if the commissioner had used
           22    reasonable care and discovered the agent’s wrongdoing, “there is no reasonable
           23    assurance that sanctions would have been imposed that would have prevented plaintiffs’
           24    subsequent losses.” Id. at 857; State Dep’t of State Hosps. v. Super. Ct., 61 Cal. 4th 339,
           25    355 (2015) (reaffirming State of Cal.).
           26          The same is true here. The “tenuous” link Terpin pleads between the alleged flaws
           27    in AT&T’s security and a major cryptocurrency theft does not plead proximate cause.
           28    Due to the inadequacy of Terpin’s pleading, it is unclear how the hackers are alleged to

Gibson, Dunn &                                             5
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 18 of 37 Page ID #:187


             1   have obtained the funds allegedly stolen in January 2018 (the vast majority of the
             2   allegedly stolen funds). See Compl. ¶ 72. This failure to plausibly allege how the theft
             3   occurred prevents any “reasonable assurance” that AT&T could have stopped
             4   sophisticated hackers even if it had employed the extra security that Terpin references.
             5   Compl. ¶ 67; State of Cal., 150 Cal. App. 3d at 857.
             6         Terpin’s theory also fails because his harm depends on multiple “independent
             7   illegal acts of third parties.” O’Keefe v. Inca Floats, Inc., 1997 WL 703784, at *4 (N.D.
             8   Cal. Oct. 31, 1997). Such actions “are deemed unforeseeable and therefore, the sole
             9   proximate cause of the injury which excludes negligence of another as a cause of injury.”
           10    Id.; Jesse v. Malcmacher, 2016 WL 9450683, at *10 (C.D. Cal. Apr. 5, 2016) (“The
           11    illegal acts of third parties are unforeseeable as a matter of law.”). As the court observed
           12    in Martinez, defendants “lack the legal or practical ability to control such criminal
           13    actions of third parties.” Martinez, 225 Cal. App. 3d at 1569.
           14          Like the defendant in Martinez, AT&T lacks the “legal or practical ability” to
           15    control criminal acts by sophisticated hackers. Id. Even if AT&T’s security measures
           16    and its hiring, supervision, and training of its employees were inadequate, no theft would
           17    have occurred without, at a minimum, (i) an illegal SIM swap; (ii) illegal hacking of
           18    other cryptocurrency accounts; (iii) access to other identifying information about Terpin
           19    in order to impersonate him, execute the SIM swap, and hack the cryptocurrency
           20    accounts; and (iv) in the case of the June 11, 2017 hack, an illegal hijacking of a Skype
           21    account and defrauding of a client. Terpin has not alleged all of the independent, illegal
           22    acts that occurred, much less pled facts suggesting AT&T is responsible for those acts.
           23    Accordingly, Terpin’s Complaint should be dismissed in its entirety for failure to
           24    adequately allege proximate cause.
           25    B.    Claim 1 (Declaratory Relief) Should Be Dismissed for Failure to Allege a
                       Ripe Case or Controversy.
           26
                       Terpin’s first claim seeks a declaration that Section 2.2 and three aspects of
           27
                 Section 4.1 of the AT&T Wireless Customer Agreement (“Agreement”) are
           28

Gibson, Dunn &                                             6
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 19 of 37 Page ID #:188


             1   unconscionable and contrary to public policy.         Compl. ¶¶ 80-101. A declaratory
             2   judgment action is only constitutionally ripe “in a case of actual controversy.” 28 U.S.C.
             3   § 2201(a). Ripeness requires that “the facts alleged, under all the circumstances, show
             4   that there is a substantial controversy, between parties having adverse legal interests, of
             5   sufficient immediacy and reality to warrant the issuance of a declaratory judgment.” City
             6   of Colton v. Am. Promotional Events, Inc.-W., 614 F.3d 998, 1005 (9th Cir. 2010). “The
             7   issues presented must be definite and concrete, not hypothetical or abstract.” In re
             8   Coleman, 560 F.3d 1000, 1005 (9th Cir. 2009).
             9         Terpin claims that the controversy over the Agreement is actionable because “Mr.
           10    Terpin contends that the Agreement . . . is unenforceable in its entirety,” while “AT&T
           11    undoubtedly disagrees.” Compl. ¶ 99. But that allegation of disagreement is the epitome
           12    of a dispute of a “hypothetical or abstract character.” Aetna Life Ins. Co. v. Haworth,
           13    300 U.S. 227, 240 (1937); Westlands Water Dist. Distribution Dist. v. Natural Resources
           14    Defense Council, Inc., 276 F. Supp. 2d 1046, 1050-52 (E.D. Cal. 2003). Terpin does
           15    not allege that he fears AT&T will enforce the challenged provisions (sections 2.2 and
           16    4.1) against him or that AT&T has threatened to do so. United Food & Commercial
           17    Workers Local Union No. 137 v. Food Employers Council, Inc., 827 F.2d 519, 525 (9th
           18    Cir. 1987) (declaratory judgment action proper where “the threat of a coercive suit based
           19    on breach of contract is real”). The mere fact that the provisions exist and Terpin
           20    suspects that the parties disagree over their meaning does not create a ripe controversy.
           21          Even if Terpin’s claim were ripe, he does not plausibly state a claim to invalidate
           22    the entire Agreement. The only provisions of the Agreement that Terpin directly
           23    challenges are (i) three aspects of Section 4.1, which provide limitations on liability
           24    (Compl. ¶¶ 87-95); and (ii) the arbitration provision of Section 2.2 (id. ¶ 97). The
           25    Agreement, which is referenced in and attached to the Complaint and therefore may be
           26    considered on a motion under Rule 12(b)(6), Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d
           27    992, 998 (9th Cir. 2010), provides that “[i]f any provision of this Agreement is found to
           28

Gibson, Dunn &                                             7
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 20 of 37 Page ID #:189


             1   be unenforceable by a court or agency of competent jurisdiction, the remaining
             2   provisions will remain in full force and effect.” Compl., Ex. D at 147 (§ 10.2).
             3         Where, as here, the alleged “illegality is collateral to the main purpose of the
             4   contract, and the illegal provision can be extirpated from the contract by means of
             5   severance or restriction, then such severance and restriction are appropriate.” Farrar v.
             6   Direct Commerce, Inc., 9 Cal. App. 5th 1257, 1274 (2017). The only basis that Terpin
             7   pleads for invalidating the entire Agreement based on the handful of allegedly
             8   unenforceable provisions is his conclusory statement that the “entire Agreement is
             9   unenforceable because the central purpose of the Agreement is tainted with illegality[.]”
           10    Compl. ¶ 96. That unexplained conclusion does not suffice to state a claim.
           11          Moreover, as Terpin alleges, the Agreement’s terms explicitly limit the
           12    Agreement’s reach to that allowed by law. Id. ¶¶ 90, 94. As a result, to the extent that
           13    any terms are unenforceable, the Agreement as a whole must be read to stay within the
           14    law, further preventing any plausible claim that the Agreement as a whole could be
           15    invalidated. Accordingly, Count 1 should be dismissed.
           16    C.    Claim 2 (Unauthorized Disclosure of Customer Confidential Proprietary
                       Information and Proprietary Network Information) Should Be Dismissed
           17          for Failure to Adequately Plead That Any Such Information Was Disclosed.
           18          Terpin’s second claim is that AT&T violated section 222 of the Federal
           19    Communications Act (“FCA”) by failing to maintain the confidentiality of protected
           20    information. In particular, Terpin alleges that AT&T did not adequately protect his
           21    customer proprietary network information (“CPNI”). Compl. ¶ 106. Terpin also alleges
           22    that AT&T did not protect his “CPI,” a term he creates to reference all information
           23    falling within section 222(a). Compl. ¶ 105. Section 222(a), entitled “In general,”
           24    provides that “[e]very telecommunications carrier has a duty to protect the
           25    confidentiality of proprietary information of, and relating to . . . customers . . . .” 47
           26    U.S.C. § 222(a). The Complaint does not allege what specific information is contained
           27    in Terpin’s self-created CPI category, and section 222 does not define CPI (or any term
           28    that could plausibly be abbreviated “CPI”). See 47 U.S.C. § 222(h) (Definitions).

Gibson, Dunn &                                             8
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 21 of 37 Page ID #:190


             1         Regardless, Terpin has not plausibly or adequately alleged that AT&T provided
             2   any third party with access to confidential information, whether CPNI or Terpin’s self-
             3   made and undefined category “CPI.” Terpin pleads only that the hackers were able to
             4   manipulate AT&T to obtain control over Terpin’s phone number through a fraudulent
             5   SIM swap. Compl. ¶¶ 64, 72. Without a plausible allegation of information that the
             6   hackers obtained from AT&T, Terpin has not stated a claim for violation of section 222.
             7         Moreover, CPNI is statutorily defined as “information that relates to the quantity,
             8   technical configuration, type, destination, location, and amount of use of a
             9   telecommunications service subscribed to by any customer of a telecommunications
           10    carrier and that is made available to the carrier solely by virtue of the carrier-customer
           11    relationship.” 47 U.S.C. § 222(h)(1)(A). It includes specific, individually identifiable
           12    information, “such as to whom, where, and when a customer places a call, as well as the
           13    types of service offering to which the customer subscribes.” U.S. W., Inc. v. F.C.C., 182
           14    F.3d 1224, 1235 (10th Cir. 1999); Verizon Nw., Inc. v. Showalter, 282 F. Supp. 2d 1187,
           15    1189 (W.D. Wash. 2003) (“CPNI includes information about calls made and received
           16    such as whether they were local or long distance, time of day of the call, the originating
           17    and destination phone numbers, and whether the call was answered or the line was
           18    busy.”).   Terpin, however, alleges that his “wireless telephone number, account
           19    information, and his private communications” constitute CPNI under the statute.
           20    Compl. ¶ 108.
           21          He is wrong. These general allegations do not allege any information that
           22    qualifies as CPNI under the statute, even if, contrary to Terpin’s allegations, information
           23    was obtained through the alleged SIM swap. See, e.g., Call One, Inc. v. Anzine, 2018
           24    WL 2735089, at *9 n.9 (N.D. Ill. June 7, 2018) (rejecting “conclusory assertion” that
           25    telephone numbers are CPNI because “the statutory definition of CPNI makes no
           26    mention of account telephone numbers”); ASIS Internet Servs. v. Active Response Grp.,
           27    2008 WL 2129417, at *3 (N.D. Cal. May 20, 2008) (“email addresses alone do not fall
           28    within the definition of [CPNI]”). Terpin’s attempt to remedy this defect by creating an

Gibson, Dunn &                                             9
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 22 of 37 Page ID #:191


             1   undefined term (“CPI”) and arguing that the introductory provision of section 222
             2   creates an independent cause of action for inadequate protection of that undefined
             3   category of information finds no support in the statute and lacks plausible supporting
             4   allegations.
             5   D.    Claim 3 (Assisting Unlawful Access to Computer [Cal. Penal Code § 502])
                       Should Be Dismissed.
             6
                       1.       Terpin Has Not Adequately Pled That Anyone Acquired Access to
             7                  His Computers, Computer Systems, or Computer Networks.
             8         Terpin’s Section 502 claim fails because he does not plausibly allege that the
             9   hackers “accessed” his computer, computer system, or computer networks. To be sure,
           10    Terpin summarily alleges that “AT&T provided the hackers with means to access Mr.
           11    Terpin’s computers, computer systems, and computer networks.” Compl. ¶ 118. But
           12    Terpin alleges that the ultimate result of AT&T’s actions is that Terpin’s number was
           13    “port[ed] over . . . to telephones controlled by hackers,” thereby permitting access to Mr.
           14    Terpin’s personal information. Compl. ¶ 115. That conclusory allegation does not
           15    identify any computer to which any hacker obtained access.
           16          2.       Terpin Has Not Pled AT&T “Knowingly” Assisted Hackers.
           17          In addition, each of the acts that constitute a public offense under Section 502(c)
           18    must be done “knowingly.” Cal. Penal Code § 502(c)(1)-(14); Spy Dialer, Inc. v. Reya
           19    LLC, 2018 WL 3689554, at *1 (C.D. Cal. July 26, 2018). To be “knowing,” AT&T
           20    must have “an awareness of the facts which bring the proscribed act within the terms of
           21    the statute.” People v. Hawkins, 98 Cal. App. 4th 1428, 1438 (2002) (quoting Cal. Penal
           22    Code § 7). Even if the hackers accessed one or more of Terpin’s computer systems
           23    (none of which is specifically identified in Claim 3), Terpin does not plead that AT&T
           24    knew that it was giving hackers a means to unauthorized access. Instead, Terpin pleads
           25    that AT&T “knew . . . that Mr. Terpin was a high-profile target and that hackers had
           26    accessed Mr. Terpin’s computers, computer systems, and computer networks”; and that
           27    AT&T “further knew that the hackers to whom it ported Mr. Terpin’s telephone number
           28    on January 7, 2018 were not authorized to access Mr. Terpin’s Personal Information

Gibson, Dunn &                                            10
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 23 of 37 Page ID #:192


             1   because the hackers did not have identification” that was required. Compl. ¶¶ 116-17.
             2         Neither of these allegations is sufficient to suggest that AT&T “knew” that it was
             3   “provid[ing] or assist[ing] in providing a means of access” to hackers on January 7,
             4   2018. Even if hackers did not have identification, it is just as plausible that the hackers
             5   tricked AT&T into accepting an excuse for that deficiency as it is that AT&T knew the
             6   hackers lacked authorization. Twombly, 550 U.S. at 567. Absent facts that tend to
             7   exclude this “obvious alternative explanation,” Terpin cannot state a claim. Id.
             8   E.    Terpin’s California Statutory Claims (Claims 3-7 and 16) Should Be
                       Dismissed Because He Is Not a California Resident and Challenges Conduct
             9         That Occurred Outside California.
           10          Several of Terpin’s claims seek extraterritorial application of California statutory
           11    law. Even assuming California law governs this case, “a contractual choice of law
           12    provision that incorporates California law presumably incorporates all of California
           13    law—including California’s presumption against extraterritorial application of its law.”
           14    O’Connor v. Uber Techs., Inc., 58 F. Supp. 3d 989, 1005 (N.D. Cal. 2014); see also
           15    Cotter v. Lyft, Inc., 60 F. Supp. 3d 1059, 1065 (N.D. Cal. 2014) (“Even if the choice of
           16    law provision were intended to confer upon out-of-state drivers a cause of action for
           17    violation of California’s wage and hour laws, it could not do so. An employee cannot
           18    create by contract a cause of action that California law does not provide.”); In re Yahoo!
           19    Inc. Customer Data Sec. Breach Litig., 2017 WL 3727318, at *35 (N.D. Cal. Aug. 30,
           20    2017) (“In re Yahoo! I”). Accordingly, Terpin must plead that AT&T’s alleged conduct
           21    falls within the scope of the statutes he invokes.
           22          If “liability-creating conduct occurs outside of California, California law
           23    generally should not govern that conduct.” Oman v. Delta Air Lines, Inc., 889 F.3d
           24    1075, 1079 (9th Cir. 2018). “[T]he presumption against extraterritoriality applies to the
           25    UCL in full force.” Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1207 (2011); see also
           26    Warner v. Tinder Inc., 105 F. Supp. 3d 1083, 1096 (C.D. Cal. 2015) (same); McKinnon
           27    v. Dollar Thrifty Automotive Grp., Inc., 2013 WL 791457, at *4 (N.D. Cal. Mar. 4, 2013)
           28    (“With regard to the UCL and CLRA, non-California residents’ claims are not supported

Gibson, Dunn &                                            11
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 24 of 37 Page ID #:193


             1   ‘where none of the alleged misconduct or injuries occurred in California.’”). Even as to
             2   California residents, UCL and CLRA claims must be dismissed if the injury arose
             3   outside of California. McKinnon, 2013 WL 791457, at *5.
             4         Here, Terpin pleads that he “is domiciled in Puerto Rico,” though he owns a
             5   residence in California; and that AT&T Mobility has its principal place of business in
             6   Georgia. Compl. ¶ 1. He does not plead that he was in California when any of the events
             7   alleged in the Complaint occurred, or that any of those events occurred in California.
             8   Instead, Terpin alleges that the June 11, 2017 SIM swap occurred “remotely,” and that
             9   he then met with AT&T in Puerto Rico. Id. ¶¶ 65-66. Terpin alleges that the January 7,
           10    2018 SIM swap occurred in Connecticut. Id. ¶ 72.
           11          Because Terpin is a non-California resident challenging conduct that occurred
           12    outside California, he has not stated a claim under the California statutes he claims were
           13    violated. Even where a non-resident plaintiff attacks a decision made in California, the
           14    UCL does not apply where the implementation of that decision and the plaintiff’s harm
           15    occurred outside of California. Sullivan, 51 Cal. 4th at 1208; McKinnon, 2013 WL
           16    791457, at *4 (dismissing UCL and CLRA claims where California resident brought
           17    claim that arose in Oklahoma). The California statutory claims should be dismissed.
           18          In addition, Claim 16 (the Customer Records Act) must be dismissed because the
           19    statute only protects California residents. § 1798.81.5(a)(1); Antman v. Uber Techs.,
           20    Inc., 2015 WL 6123054, at *12 (N.D. Cal. Oct. 19, 2015). Because Terpin is a resident
           21    of Puerto Rico, this claim must be dismissed. See Kenneth Martin Gardner v. Health
           22    Net, Inc., 2010 WL 11597979, at *8-9 (C.D. Cal. Aug. 12, 2010) (dismissing CRA claim
           23    because Plaintiffs “were not California residents at the time of any of the events
           24    alleged”).
           25    F.    Claims 4-6 (Violation of California UCL) Should Be Dismissed Because
                       Terpin Has Not Pled Entitlement to Equitable Relief.
           26
                       Claims 4-6 should be dismissed for another, separate reason: Terpin has not
           27
                 plausibly alleged an entitlement to any remedy under the UCL. As Terpin’s allegations
           28

Gibson, Dunn &                                            12
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 25 of 37 Page ID #:194


             1   implicitly acknowledge, “California law does not recognize the recovery of damages by
             2   individuals for unfair business practices.” Kates v. Crocker Nat’l Bank, 776 F.2d 1396,
             3   1398 (9th Cir. 1985). The only available statutory remedies are restitution and injunctive
             4   relief. Cal. Bus. & Prof. Code § 17203; SkinMedica, Inc. v. Histogen Inc., 869 F. Supp.
             5   2d 1176, 1184 (S.D. Cal. 2012). Restitutionary relief is limited to “money or property
             6   lost by the plaintiff and acquired by the defendant.” Fresno Motors, LLC v. Mercedes
             7   Benz USA, LLC, 771 F.3d 1119, 1135 (9th Cir. 2014).
             8          Terpin has not alleged facts plausibly suggesting entitlement to restitution.5 He
             9   claims that he lost $24 million in cryptocurrency and “the benefit of his bargain” with
           10    AT&T, but alleges no facts suggesting that AT&T acquired these funds or could have
           11    benefited from the supposed criminal scheme of unknown hackers. Compl. ¶¶ 130, 142,
           12    153. Because “[t]he object of restitution is to restore the status quo by returning to the
           13    plaintiff funds in which he or she has an ownership interest,” Terpin’s failure to identify
           14    any funds ending up in the hands of AT&T is fatal to his claim for restitution. In re
           15    Napster, Inc. Copyright Litig., 354 F. Supp. 2d 1113, 1126-27 (N.D. Cal. 2005) (internal
           16    quotation marks omitted); Compl. ¶ 131.
           17    G.     Claim 7 (Violation of CLRA) Should Be Dismissed.
           18           1.      Claim 7 Should Be Dismissed for Failure to Give Required Notice and
                                Opportunity to Cure.
           19
                        Similarly, Claim 7 should be dismissed for an additional reason. To state a claim
           20
                 under the CLRA, the plaintiff must, thirty days prior to commencing its action, send the
           21
                 defendant, by certified or registered mail, a notice and demand letter identifying the
           22
                 § 1770 violations the plaintiff alleges and demanding that the defendant correct those
           23
           24
           25
           26    5
                   Terpin is also not entitled to disgorgement of wrongfully obtained profits. Nonrestitutionary
                 disgorgement is not available under section 17203. In re Napster, Inc. Copyright Litig., 354 F. Supp.
           27    2d at 1126-27. And Terpin’s generic allegation that he is entitled to injunctive relief without identifying
                 harm he seeks to enjoin is insufficient. See Lamb-Weston, Inc. v. McCain Foods, Ltd., 941 F.2d 970,
           28    974 (9th Cir. 1991) (injunctive relief “must be tailored to remedy the specific harm alleged”).

Gibson, Dunn &                                                 13
Crutcher LLP
                                                DEFENDANT’S MOTION TO DISMISS
                                                 CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 26 of 37 Page ID #:195


             1   violations. Cal. Civ. Code § 1782.           Courts routinely dismiss CLRA claims with
             2   prejudice if the plaintiff fails to allege compliance with these statutory requirements.6
             3          Here, the Complaint is devoid of any allegations that Terpin provided AT&T
             4   proper notice under the CLRA. Terpin’s CLRA claim must be dismissed with prejudice.
             5          2.     Claim 7 Should Be Dismissed for Failure to Plead a Violation of the
                               Cited Subsections of the CLRA.
             6
                        The CLRA prohibits “unfair methods of competition and unfair or deceptive acts
             7
                 or practices undertaken by any person in a transaction intended to result or that results
             8
                 in the sale or lease of goods or services to any consumer.” Cal. Civ. Code § 1770(a).
             9
                 “Goods” are statutorily defined as “tangible chattels,” and “services” are defined as
           10
                 “work, labor, and services for other than a commercial or business use, including
           11
                 services furnished in connection with the sale or repair of goods.” Id. § 1761(a)-(b).
           12
                        Terpin alleges “AT&T represented to Mr. Terpin that his Personal Information
           13
                 was secure and would remain private” and “engaged in deceptive acts and business
           14
                 practices” by making statements that “users’ Personal Information was secure and that
           15
                 it adhered to its legal obligations to protect Personal Information[.]” Compl. ¶ 160.
           16
                 Terpin alleges that this conduct violated the CLRA, Cal. Civ. Code §§ 1770(a)(5), (a)(7),
           17
                 (a)(14), and (a)(16). Id. ¶ 159. Both Sections 1770(a)(5) and 1770(a)(7) require that a
           18
                 plaintiff allege that a defendant made false representations about “goods or services.”
           19
                 Cal. Civ. Code §§ 1770(a)(5), (a)(7). Terpin’s personal information is neither a good
           20
                 nor a service. See Fairbanks v. Super. Ct., 46 Cal. 4th 56, 61 (2009) (life insurance
           21
                 policies are not services because “[a]n insurer’s contractual obligation to pay money
           22
                 under a life insurance policy is not work or labor, nor is it related to the sale or repair of
           23
                 any tangible chattel”); see Ferrington v. McAfee, Inc., 2010 WL 3910169, at *19 (N.D.
           24
                 Cal. Oct. 5, 2010) (CLRA does not apply to software plaintiff downloaded from the
           25
           26
           27    6
                   Stearns v. Select Comfort Retail Corp., 2009 WL 1635931, at *15 (N.D. Cal. June 5, 2009); Von
                 Grabe v. Sprint PCS, 312 F. Supp. 2d 1285, 1304 (S.D. Cal. 2003); Laster v. T-Mobile USA, Inc., 407
           28    F. Supp. 2d 1181, 1195-96 (S.D. Cal. 2005), aff’d, 252 F. App’x 777 (9th Cir. 2007); Outboard Marine
                 Corp. v. Super. Ct., 52 Cal. App. 3d 30, 40-41 (1975) (notice provisions apply “literal[ly]”).
Gibson, Dunn &                                                    14
Crutcher LLP
                                               DEFENDANT’S MOTION TO DISMISS
                                                 CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 27 of 37 Page ID #:196


             1   internet because it was neither a “good” nor a “service” under the statute).
             2         Terpin also fails to state a claim under Section 1770(a)(14) and Section
             3   1770(a)(16). Section 1770(a)(14) prohibits any person from “[r]epresenting that a
             4   transaction confers or involves rights, remedies, or obligations which it does not have or
             5   involve, or which are prohibited by law.” Terpin does not identify the transaction about
             6   which he alleges AT&T made false representations, much less what “rights, remedies,
             7   or obligations” AT&T represented that the transaction conferred. Compl. ¶ 159. A
             8   representation about the security of Terpin’s information is not a representation about
             9   Terpin’s “rights” or “remedies.”             Likewise, Section 1770(a)(16) prohibits
           10    “[r]epresenting that the subject of a transaction has been supplied in accordance with a
           11    previous representation when it has not.” It “target[s] not the initial representation in a
           12    transaction, but a subsequent representation which is deceptive.” Ehret v. Uber Techs.,
           13    Inc., 68 F. Supp. 3d 1121, 1139 (N.D. Cal. 2014) (dismissing a Section 1770(a)(16)
           14    claim because the plaintiff did not allege that the defendant made a second
           15    misrepresentation about a prior representation). Terpin alleges that AT&T represented
           16    that his information was secure (Compl. ¶ 160), and later represented it would increase
           17    his protection (id. ¶ 162), but does not allege that the latter allegation references the prior
           18    one (because it does not), as required by Section 1770(a)(16) and Ehret.
           19          Accordingly, Claim 7 should be dismissed.
           20    H.    Claim 8 (Deceit by Concealment) Should Be Dismissed.
           21          1.     Claim 8 Should Be Dismissed for Failure to Allege a Duty to Speak.
           22          Deceit by concealment is suppression of a fact by one who is “bound to disclose
           23    it.” Cal. Civ. Code § 1710(3). A defendant is only liable for fraudulent concealment if
           24    he or she had a “legal duty” to disclose a “material fact.” Hoffman v. 162 N. Wolfe LLC,
           25    228 Cal. App. 4th 1178, 1186 (2014), as modified on denial of reh’g (Aug. 13, 2014).
           26    A duty to disclose arises in four circumstances: “(1) when the defendant is in a fiduciary
           27    relationship with the plaintiff; (2) when the defendant had exclusive knowledge of
           28    material facts not known to the plaintiff; (3) when the defendant actively conceals a

Gibson, Dunn &                                             15
Crutcher LLP
                                            DEFENDANT’S MOTION TO DISMISS
                                             CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 28 of 37 Page ID #:197


             1   material fact from the plaintiff; and (4) when the defendant makes partial representations
             2   but also suppresses some material facts.” Grisham v. Philip Morris, Inc., 670 F. Supp.
             3   2d 1014, 1043 (C.D. Cal. 2009) (internal quotation marks omitted).
             4         Terpin alleges AT&T “had a duty to disclose” that its security measures were not
             5   impenetrable (Compl. ¶ 170), but does not plead facts to support a legal basis for this
             6   duty. Terpin does not and cannot allege that he and AT&T were fiduciaries, as
             7   “[c]ommercial, arms-length relationships” are not fiduciary. Grisham, 670 F. Supp. 2d
             8   at 1043. Terpin also does not allege a “partial representation[]” that created a duty to
             9   disclose other facts. Id. Instead, Terpin alleges that “AT&T had exclusive knowledge”
           10    of material facts, and that AT&T “actively conceal[ed]” a material fact from Terpin.
           11    Compl. ¶¶ 158, 170. He has not pled facts to support these conclusory allegations.
           12          The “exclusive knowledge” that Terpin alleges—though not in his deceit claim—
           13    is that AT&T’s “protection of Personal Information was defective.” Compl. ¶ 158. But
           14    Terpin’s Complaint describes public articles about SIM swaps, including that such
           15    crimes involve mobile store employees (including from AT&T), target cryptocurrency
           16    investors, and befall AT&T customers. Compl. ¶¶ 53-60. Terpin has affirmatively
           17    alleged that these risks were widely known (including, presumably, known by him).
           18    Accordingly, Terpin has not—and cannot—allege that AT&T possessed exclusive
           19    knowledge of this potential security risk giving it a duty to disclose that fact. Sanders
           20    v. Apple Inc., 672 F. Supp. 2d 978, 986 (N.D. Cal. 2009) (rejecting allegation that “Apple
           21    was in a superior position of knowledge with regard to its own technology” as it “lacked
           22    specific substantiating facts” required by Rule 9(b) to plead “exclusive knowledge”).
           23          Terpin also does not allege any facts that AT&T actively concealed information
           24    from him. He alleges that AT&T “conceal[ed] the true facts concerning its data security”
           25    (Compl. ¶ 170), but pleads no facts establishing “concealment,” as opposed to simple
           26    non-disclosure. Active concealment requires the party to take “affirmative acts . . . in
           27    hiding, concealing, or covering up the matters complained of.” Czuchaj v. Conair Corp.,
           28    2014 WL 1664235, at *6 (S.D. Cal. Apr. 18, 2014) (internal quotation marks omitted).

Gibson, Dunn &                                            16
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 29 of 37 Page ID #:198


             1         Even if Terpin had pled a basis for a duty to disclose, the Agreement confirms
             2   that AT&T disclosed the limits of its security, precisely what Terpin says AT&T did not
             3   disclose. Compl. ¶ 158. AT&T stated unambiguously in the Agreement—in all caps—
             4   that “AT&T DOES NOT GUARANTEE SECURITY.” Compl., Ex. D at 126 (§ 4.3).
             5   AT&T also disclosed that “no security measures are perfect” and AT&T “cannot
             6   guarantee that your Personal Information will never be disclosed in a manner
             7   inconsistent with this Policy (for example, as the result of unauthorized acts by third
             8   parties that violate the law or this Policy).” Compl., Ex. B at 96; see Clayton v. Landsing
             9   Pac. Fund, Inc., 2002 WL 1058247, at *6 (N.D. Cal. May 9, 2002), aff’d, 56 F. App’x
           10    379 (9th Cir. 2003) (no claim for fraudulent concealment where defendants “actually
           11    disclosed the information . . . plaintiff [alleged] was kept secret from her”) (emphasis in
           12    original). Because Terpin has not pled a basis for a duty to disclose, and because the
           13    parties’ Agreement explicitly discloses precisely what Terpin asserts was concealed,
           14    Claim 8 should be dismissed.
           15          2.     Terpin Has Not Pled That He Would Have Acted Differently Had He
                              Been Aware of the Allegedly Concealed Facts.
           16
                       A claim for deceit also requires a plaintiff to plausibly plead that he was unaware
           17
                 of a concealed material fact and would have acted differently had he known about it.
           18
                 Johnson v. Lucent Techs. Inc., 653 F.3d 1000, 1011-12 (9th Cir. 2011). Because this
           19
                 claim sounds in fraud, it must be plead with particularity. Vess v. CIBA-Geigy Corp.
           20
                 USA, 317 F.3d 1097, 1104 (9th Cir. 2003); Patera v. Citibank, N.A., 79 F. Supp. 3d
           21
                 1074, 1085 (N.D. Cal. 2015).
           22
                       Terpin does not satisfy this element. He alleges only that AT&T had a duty to
           23
                 disclose certain facts and that he would have acted differently if AT&T had done so,
           24
                 missing the crucial factual link that he was unaware of these facts. Specifically, Terpin
           25
                 alleges that AT&T did not disclose the alleged inadequacy of its data security measures;
           26
                 that its employees could bypass those measures and/or cooperate with thieves; that
           27
                 AT&T could not protect Terpin’s Personal Information; that SIM swap fraud was
           28

Gibson, Dunn &                                            17
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 30 of 37 Page ID #:199


             1   common in the cryptocurrency community; that his Personal Information was readily
             2   obtained by hackers; and that AT&T inadequately supervised and trained its employees.
             3   Compl. ¶¶ 166-71. But Terpin does not claim that he was unaware of these alleged
             4   facts. No such claim would be credible. Terpin describes himself as a “prominent
             5   member of the blockchain and cryptocurrency community,” and it is implausible that
             6   such an individual would not be aware of public articles regarding risks to
             7   cryptocurrency investors. Compl. ¶ 13. And the “prior incidents” that he alleges inform
             8   AT&T’s awareness of purported deficiencies in its data security procedures necessarily
             9   include the alleged June 11, 2017 SIM swap that Terpin himself alleges. Compl. ¶¶ 64-
           10    65. After that point, Terpin cannot plausibly claim that he was unaware that his mobile
           11    phone could potentially be hacked.
           12    I.    Claim 9 (Misrepresentation) Should Be Dismissed Because Terpin Has Not
                       Pled That He Read the Documents on Which He Supposedly Relied.
           13
                       “To state a claim for intentional misrepresentation under California law, a plaintiff
           14
                 must plead, among other things, that ‘the defendant intended that the plaintiff rely on
           15
                 the representation’ and ‘the plaintiff reasonably relied on the representation.’” Welk v.
           16
                 Beam Suntory Imp. Co., 124 F. Supp. 3d 1039, 1044 (S.D. Cal. 2015) (internal citations
           17
                 omitted). Pleading the element of reliance necessarily dictates that a plaintiff allege that
           18
                 he was somehow exposed to the alleged misrepresentation. Sloan v. Gen. Motors LLC,
           19
                 287 F. Supp. 3d 840, 874 (N.D. Cal. 2018), order clarified, 2018 WL 1156607 (N.D.
           20
                 Cal. Mar. 5, 2018) (“In an affirmative misrepresentation case, a plaintiff obviously must
           21
                 plead that they in fact viewed or were exposed to the misleading misrepresentation;
           22
                 otherwise, they could not have relied on it.”).
           23
                       Here, Terpin summarily alleges that he relied on numerous purported
           24
                 misrepresentations in AT&T’s Code of Business Conduct (“COBC”) and Privacy Policy
           25
                 Compl. ¶¶ 178-79. But Terpin does not allege that he read these documents at all, much
           26
                 less allege facts to describe when he supposedly became aware of the claimed
           27
                 misrepresentations. The COBC articulates the core set of values for AT&T employees,
           28

Gibson, Dunn &                                            18
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 31 of 37 Page ID #:200


             1   and Terpin has not pled any basis to think he, as a customer, read that document until
             2   this litigation. Absent this crucial factual allegation, his misrepresentation claim must
             3   be dismissed. In re Yahoo! I, 2017 WL 3727318, at *27-28 (dismissing plaintiffs’
             4   affirmative misrepresentation claim because plaintiffs did not allege that they “actually
             5   read” defendant’s Privacy Policy) (emphasis in original).
             6   J.    Terpin’s Fraud and Negligence Claims (Claims 8-12) Are Barred by the
                       Economic Loss Doctrine.
             7
                       Terpin’s fraud and negligence claims—which recast his contract claims in tort—
             8
                 are additionally barred by the economic loss doctrine.         JMP Sec. LLP v. Altair
             9
                 Nanotechnologies Inc., 880 F. Supp. 2d 1029, 1042 (N.D. Cal. 2012). The “fundamental
           10
                 rule in California is that no tort cause of action will lie where the breach of duty is
           11
                 nothing more than a violation of a promise which undermines the expectations of the
           12
                 parties to an agreement.” Oracle USA, Inc. v. XL Glob. Servs., Inc., 2009 WL 2084154,
           13
                 at *4 (N.D. Cal. July 13, 2009). The economic loss rule “‘requires a purchaser to recover
           14
                 in contract for purely economic loss due to disappointed expectations, unless he can
           15
                 demonstrate harm above and beyond a broken contractual promise.’” ChromaDex, Inc.
           16
                 v. Elysium Health, Inc., 301 F. Supp. 3d 963, 969 (C.D. Cal. 2017) (quoting Robinson
           17
                 Helicopter Co. v. Dana Corp., 34 Cal. 4th 979, 988 (2004)).
           18
                       Terpin’s fraud and negligence claims relate to his allegation that AT&T’s security
           19
                 measures were inferior to what AT&T promised. Compl. ¶¶ 166, 178-80, 185, 196, 207.
           20
                 Terpin alleges breach of express and implied contract on the same facts. Id. ¶¶ 216-27.
           21
                 Terpin’s claims are thus “purported tort claims related to the performance of a contract,”
           22
                 and “are viable only where ‘the duty that gives rise to tort liability is either completely
           23
                 independent of the contract or arises from conduct which is both intentional and intended
           24
                 to harm.’” Audigier Brand Mgmt. v. Perez, 2012 WL 5470888, at *5 (C.D. Cal. Nov. 5,
           25
                 2012) (quoting Robinson, 34 Cal. 4th at 988) (emphasis in original). Terpin has not
           26
                 pled any duty to secure his information other than that allegedly imposed by the Privacy
           27
                 Policy and the COBC, and has not pled that AT&T acted intentionally to harm him.
           28

Gibson, Dunn &                                            19
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 32 of 37 Page ID #:201


             1         In similar circumstances, courts in the Ninth Circuit dismiss fraud and negligence
             2   claims under the economic loss rule. See, e.g., Body Jewelz, Inc. v. Valley Forge Ins.
             3   Co., 241 F. Supp. 3d 1084, 1091-94 (C.D. Cal. 2017) (dismissing plaintiff’s negligence
             4   claim without leave to amend because it was barred by the economic loss rule);
             5   Hammond Enters. Inc. v. ZPS Am. LLC, 2013 WL 5814505, at *7-8 (N.D. Cal. Oct. 29,
             6   2013) (dismissing negligence, negligent misrepresentation, and fraudulent concealment
             7   claims with prejudice under economic loss rule); see also WeBoost Media S.R.L. v.
             8   LookSmart Ltd., 2014 WL 2621465, at *6 (N.D. Cal. June 12, 2014); Tasion Commc’ns,
             9   Inc. v. Ubiquiti Networks, Inc., 2013 WL 4530470, at *9 (N.D. Cal. Aug. 26, 2013)
           10    (gathering   cases   where    tort   claims   were   dismissed    on   the   basis   of
           11    the economic loss rule). Terpin’s fraud and negligence claims (Claims 8-12) are all
           12    barred by the economic loss rule and should be dismissed.
           13    K.    Claim 14 (Breach of Implied Contracts) Should Be Dismissed Because
                       Terpin Has Not Stated a Claim for Breach of Implied Contract.
           14
                       Terpin alleges AT&T breached “implied contracts” entered when Terpin opened
           15
                 an AT&T wireless account. Compl. ¶¶ 224-27. “A cause of action for breach of implied
           16
                 contract has the same elements as does a cause of action for breach of contract, except
           17
                 that the promise is not expressed in words but is implied from the promisor’s conduct.”
           18
                 Yari v. Producers Guild of Am., Inc., 161 Cal. App. 4th 172, 182 (2008) (citation
           19
                 omitted). Both the existence and the terms of an implied contract are manifested by
           20
                 conduct. Cal. Civ. Code § 1621. The plaintiff must show that both parties agreed to the
           21
                 contract, and that both parties intended to make a promise. Div. of Labor Law
           22
                 Enforcement v. Transpacific Transp. Co., 69 Cal. App. 3d 268, 275 (1977); Sacramento
           23
                 Cty. Retired Employees Ass’n v. Cty. of Sacramento, 975 F. Supp. 2d 1150, 1166 (E.D.
           24
                 Cal. 2013) (“It is true that a course of conduct may show an implied promise, but ‘the
           25
                 very heart of this kind of agreement is an intent to promise.’” (citing Gorlach v. The
           26
                 Sports Club Co., 209 Cal. App. 4th 1497, 1507 (2013)) (emphasis in original)); see also
           27
                 Foster Poultry Farms v. Aklar-Rapidpak-MP Equip., Inc., 868 F. Supp. 2d 983, 995
           28

Gibson, Dunn &                                           20
Crutcher LLP
                                          DEFENDANT’S MOTION TO DISMISS
                                           CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 33 of 37 Page ID #:202


             1   (E.D. Cal. 2012). The issue is whether “evidence of the parties’ conduct has a ‘tendency
             2   in reason’ (Cal. Evid. Code, § 210) to demonstrate the existence of an actual mutual
             3   understanding on particular terms and conditions of employment.” Guz v. Bechtel Nat’l,
             4   Inc., 24 Cal. 4th 317, 337 (2007).
             5         Terpin does not plausibly allege that AT&T’s conduct evidences agreement to
             6   particular terms and conditions. If the Privacy Policy or COBC established a contract,
             7   it would be an express one; allowing Terpin to open an account would not imply
             8   agreement to any particular terms whatsoever. Because an “actual mutual understanding
             9   on particular terms and conditions,” Guz, 24 Cal. 4th at 337, is required and cannot be
           10    inferred from any conduct alleged, Terpin does not plead an implied contract.
           11    L.    Claim 15 Should Be Dismissed Because Terpin Has Not Stated a Claim for
                       Breach of the Implied Covenant of Good Faith and Fair Dealing.
           12
                       Terpin next asserts that AT&T breached the implied covenant of good faith and
           13
                 fair dealing with respect to AT&T’s Privacy Policy and COBC by acting with “bad faith”
           14
                 towards Terpin’s confidential information. The implied covenant of good faith and fair
           15
                 dealing is narrow, existing “merely to prevent one contracting party from unfairly
           16
                 frustrating the other party’s right to receive the benefits of the agreement actually made.”
           17
                 Guz, 24 Cal. 4th at 349 (emphasis in original). The “implied covenant of good faith and
           18
                 fair dealing does not impose substantive terms and conditions beyond those to which the
           19
                 parties actually agreed.” Avidity Partners, LLC v. State of Cal., 221 Cal. App. 4th 1180,
           20
                 1204 (2013); see also Guz, 24 Cal. 4th at 349. The covenant thus remedies situations
           21
                 where the defendant did not actually breach the parties’ contract, but where its actions
           22
                 effectively made the contract without value to the plaintiff.
           23
                       Terpin’s breach of the implied covenant claim offends this principle. If AT&T’s
           24
                 security measures fulfilled its contracts, then Terpin’s breach of the implied covenant
           25
                 claim depends on imposing security-related obligations on AT&T that are not in the
           26
                 contract, which is not permissible. Guz, 24 Cal. 4th at 352. Alternatively, if AT&T did
           27
                 not comply with its contracts, Terpin’s claim is superfluous, because the breach of
           28

Gibson, Dunn &                                            21
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 34 of 37 Page ID #:203


             1   contract claim (Claim 13) will enforce those contracts. Id.; Careau & Co. v. Sec. Pac.
             2   Bus. Credit, Inc., 222 Cal. App. 3d 1371, 1395 (1990) (“allegations [that] do not go
             3   beyond the statement of a mere contract breach and . . . simply seek the same damages
             4   or other relief already claimed in a companion contract cause of action . . . may be
             5   disregarded as superfluous as no additional claim is actually stated”).
             6   M.    Claim 16 Should Be Dismissed Because Terpin Has Not Alleged AT&T
                       Failed to Protect the Type of Information Shielded by the Customer
             7         Records Act.
             8         Terpin alleges that AT&T violated Section 1798.81.5(b) of the California Civil
             9   Code, the Customer Records Act (“CRA”) because it did not “implement and maintain
           10    reasonable security procedures and practices” regarding personal information, “as
           11    evidenced by the January 7, 2018 SIM swap fraud.” Compl. ¶ 238. The CRA regulates
           12    AT&T’s actions with respect to personal information that it “owns, licenses, or
           13    maintains.” Cal. Civ. Code § 1798.81.5. But Terpin does not identify any personal
           14    information that AT&T owned, licensed, or maintained, but did not protect. In re Yahoo!
           15    Inc. Customer Data Sec. Breach Litig., 313 F. Supp. 3d 1113, 1145-46 (N.D. Cal. 2018)
           16    (“In re Yahoo! II”) (dismissing California CRA claim where Plaintiffs failed to allege
           17    facts regarding the claimed violation). On the sparse facts alleged by Terpin regarding
           18    how the SIM swap led to a theft, he contends that the swap somehow facilitated the
           19    hackers obtaining access to Terpin’s other accounts. Compl. ¶¶ 65, 72. But that does
           20    not mean that AT&T ever owned, licensed, or maintained the account numbers and
           21    passwords associated with those accounts, much less that AT&T provided them to the
           22    hackers. Tellingly, Terpin makes no such allegation. Accordingly, Claim 16 fails to
           23    state a claim.
           24    N.    Terpin’s Request for Punitive Damages Should Be Stricken.
           25          1.     Terpin Has Not Adequately Pled That He Is Entitled to Punitive
                              Damages.
           26
                       Terpin requests punitive damages for Claims 3, 8-12, and 15-16. Punitive
           27
                 damages are “disfavored by the law,” Kelley v. Corr. Corp. of Am., 750 F. Supp. 2d
           28

Gibson, Dunn &                                            22
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 35 of 37 Page ID #:204


             1   1132, 1147 (E.D. Cal. 2010), and available only upon clear and convincing evidence
             2   that the conduct giving rise to the award is “so vile, base, contemptible, miserable,
             3   wretched or loathsome that it would be looked down upon and despised by ordinary
             4   decent people” or “[having] the character of outrage frequently associated with
             5   crime.” Tomaselli v. Transamerica Ins. Co., 25 Cal. App. 4th 1269, 1287 (1994).
             6         California law holds that punitive damages may only be awarded against an entity
             7   defendant based on the entity’s “own wrongful conduct.” Weeks v. Baker & McKenzie,
             8   63 Cal. App. 4th 1128, 1154 (1998) (emphasis in original). An entity may not be held
             9   liable for punitive damages based upon the acts of an employee unless the plaintiff
           10    proves, by clear and convincing evidence, that an “officer, director or managing agent”
           11    of the entity either: (1) had advance knowledge of the unfitness of the fraudulent,
           12    malicious or oppressive employee and employed him or her with a knowing disregard
           13    of the rights or safety of others; or (2) committed, ratified, or authorized the fraudulent,
           14    malicious or oppressive conduct. Cal. Civ. Code § 3294(b). Managing agents are
           15    employees who “exercise[] substantial discretionary authority over decisions that
           16    ultimately determine corporate policy.” Cruz v. HomeBase, 83 Cal. App. 4th 160, 167
           17    (2000) (alteration and emphasis in original) (quoting White v. Ultramar, Inc., 21 Cal.
           18    4th 563, 569 (1999)). By confining liability to “officer[s], director[s], and managing
           19    agent[s],” California law “avoids punishing the corporation for malice of low-level
           20    employees which does not reflect the corporate ‘state of mind’ or the intentions of
           21    corporate leaders.” Cruz, 83 Cal. App. 4th at 167; see also White, 21 Cal. 4th at 569.
           22          Here, Terpin has failed to allege that any “officer, director or managing agent” of
           23    AT&T knew about or ratified any of the actions about which Terpin complains. Instead,
           24    the only alleged AT&T employee Terpin mentions by name is Jahmil Smith, who Terpin
           25    alleges worked at an “AT&T store” and had a criminal record and should never have
           26    been hired by AT&T. Compl. ¶ 212. Terpin does not—and cannot in good faith—allege
           27    that AT&T had any advance knowledge about any alleged unfitness of Mr. Smith.
           28    Terpin therefore has no legitimate claim for punitive damages against AT&T.

Gibson, Dunn &                                            23
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 36 of 37 Page ID #:205


             1         Terpin also fails to adequately plead the required mental state to support a claim
             2   for punitive damages. In California, a “conclusory characterization of defendant’s
             3   conduct as intentional, willful and fraudulent is a patently insufficient statement of
             4   ‘oppression, fraud or malice.’” Brousseau v. Jarrett, 73 Cal. App. 3d 864, 872 (1977)
             5   (quoting Cal. Civ. Code § 3294(a)); Lavine v. Jessup, 161 Cal. App. 2d 59, 69 (1958)
             6   (“mere use” of terms like fraud “is not enough”; “facts constituting bad faith or fraud
             7   must be specifically alleged”); Torralbo v. Davol, Inc., 2017 WL 5664993, at *7 (C.D.
             8   Cal. Oct. 19, 2017).
             9         Here, Terpin’s allegations concerning malice, fraud, and oppression are based on
           10    nothing more than conclusory allegations and unreasonable inferences.          See, e.g.,
           11    Compl. ¶¶ 191, 203, 215, 234. For some claims, Terpin simply states, without factual
           12    support, that AT&T acted with malice, fraud, and oppression. See id. ¶¶ 121, 176, 182,
           13    241. These bald assertions are “devoid of factual support” and insufficient to support a
           14    prayer for punitive damages. Perez v. Auto Tech. Co., 2014 WL 12588644, at *7 (C.D.
           15    Cal. July 14, 2014) (conclusory statements to support punitive damages “are not entitled
           16    to the presumption of truth under Iqbal and Twombly”). Because Terpin “invites the
           17    court to read . . . an evil motive” into “facts that describe nothing more than the basic
           18    elements” of the claims he asserts, his request for punitive damages should be dismissed.
           19    Kelley, 750 F. Supp. 2d at 1148. Indeed, even Terpin pleads only that the “employees
           20    at the AT&T store who unlawfully handed over Mr. Terpin’s telephone number to
           21    thieves were either blind or complicit.”      Compl. ¶ 74 (emphasis added).         This
           22    acknowledgment that those employees may not have been complicit further supports
           23    rejecting Terpin’s request for punitive damages.
           24          2.     Punitive Damages Are Unavailable for Claims 10-12, 15-16 as a
                              Matter of Law.
           25
                       Finally, punitive damages are unavailable as a matter of law for Claims 10-12 and
           26
                 15-16. First, Terpin’s claim for breach of the implied covenant of good faith and fair
           27
                 dealing (Claim 15) does not provide a basis for punitive damages. In re Yahoo! II, 313
           28

Gibson, Dunn &                                            24
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
           Case 2:18-cv-06975-ODW-KS Document 14 Filed 10/22/18 Page 37 of 37 Page ID #:206


             1   F. Supp. 3d at 1149 (granting motion to dismiss plaintiffs’ claim for breach of implied
             2   covenant of good faith and fair dealing “to the extent that claim seeks punitive
             3   damages”). Similarly, punitive damages are not available for Claim 16 because the
             4   Customer Records Act “does not allow for such penalties based on violations of the
             5   statutes at issue here or expressly allow for punitive damages.” Id. at 1149-50.
             6         Likewise, it is well established in California that “[m]ere . . . negligence, [e]ven
             7   gross negligence is not sufficient to justify an award of punitive damages.” Simmons v.
             8   S. Pac. Transp. Co., 62 Cal. App. 3d 341, 369 (1976); Molina v. J.C. Penney Co., 2015
             9   WL 183899 (N.D. Cal. Jan. 14, 2015) (“The standard for punitive damages requires
           10    behavior more offensive than the standard for gross negligence.”). Thus, Terpin’s
           11    requests for punitive damages for his claims of negligence, negligent supervision and
           12    training, and negligent hiring (Claims 10-12) are unavailing. Compl. ¶¶ 191, 203, 215.
           13    The allegations of negligence on those claims, even supplemented with conclusory
           14    assertions of malice, fraud, and oppression, are insufficient to support a request for
           15    punitive damages. See Gilstrap v. United Airlines, Inc., 2014 WL 12734331, at *6 (C.D.
           16    Cal. Jan. 17, 2014).
           17                                       V.     Conclusion
           18          For the reasons set forth above, the Complaint should be dismissed in its entirety
           19    for failure to plead proximate cause. Moreover, Claims 1-12 and 14-16 should be
           20    dismissed for the additional reasons addressed herein.
           21    Dated: October 22, 2018                 Respectfully submitted,
           22                                            GIBSON, DUNN & CRUTCHER LLP
           23
           24                                            By: /s/ Marcellus A. McRae
                                                             Marcellus A. McRae
           25
           26                                            Attorney for Defendant
                                                         AT&T MOBILITY LLC
           27
           28

Gibson, Dunn &                                            25
Crutcher LLP
                                           DEFENDANT’S MOTION TO DISMISS
                                            CASE NO. 2:18-CV-06975-ODW-KS
